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                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                          CENTRAL DIVISION

              In re: Karen D. Easter,                                          Case No.: 4:22-bk-10799
                      Debtor                                                                 Chapter 13


                                 ORDER TO SHORTEN TIME TO OBJECT


                    NOW BEFORE THE COURT is the Amended Motion to Shorten Time to
            Object to a Motion to Reinstate Case and Extend Deadline to File Required

            Schedules, filed by the Debtor, Karen D. Easter, on May 16, 2022. This Court

            finds that the Motion should be, and hereby is, GRANTED. Accordingly, this
            Court orders that the time to object to Debtor's Motion to Reinstate Case and
            Extend Time to File Chapter 13 Plan is hereby shortened to ten (10) days. Any
            objection to the Debtor's Motion to Reinstate Case shall be filed with this
            Court on or before May 26, 2022.

                    IT IS SO ORDERED.




                                                                 Honorable Phyllis M. Jones
                                                                    United States Bankruptcy Judge
                                                      Phyllis M. Jones
                                                      United States Bankruptcy Judge
                                                      Dated: 05/17/2022




EOD: May 17, 2022
